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                                                                   JlSTRICT COURT OF GUAM              CD
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                               IN THE UNITED STATES DISTRICT COURT


                                      FOR THE TERRITORY OF GUAM


 9    UNITED STATES OF AMERICA,                        CRIMINAL CASE NO      .19-0002 5
10                             Plaintiff,

11                             vs.                      PLEA AGREEMENT


12    JOEL PO YMBALLA,

13                             Defendant.


14


15          The United States and Defendant, JOEL PO YMBALLA, enter into the following plea

16   agreement:

17                                          Charge and Penalties

18          1. Defendant agrees to waive indictment and enter a guilty plea to an information

19   charging him with Conspiracy to Import Fifty or More Grams of Methamphetamine

20   Hydrochloride, in violation of 21 U.S.C. §§ 952(a), 960(a), 960(b)(1)(H), and 963 and 18 U.S.C.

21   §2.

22          2. Defendant understands and acknowledges the following:

23                  (a) A conviction for Conspiracy to Import Fifty or More Grams of

24   Methamphetamine Hydrochloride, in violation of 21 U.S.C. §§ 952(a), 960(a), 960(b)(1)(H), and

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 1   963 and 18 U.S.C. § 2 carries a maximum penalty of not less than ten years imprisonment and

 2   not more than life imprisonment, a $10,000,000 fine, or both, at least a five-year period of

 3   supervised release, and a $100 special assessment. In addition to these maximum penalties, any

 4   violation of a supervised release order could lead to an additional term of up to five years

 5   imprisonment, pursuant to 18 U.S.C. § 3583(e)(3). Defendant agrees to pay the $100 special

 6   assessment at or before sentencing.

 7                  (b) The Defendant understands that by entering this plea of guilty the Defendant

 8   may no longer be eligible for assistance under any state program funded under part A of title IV

 9   of the Social Security Act (concerning Temporary Assistance for Needy Families) or benefits

10   under the food stamp program or any state program carried out under the Food Stamp Act. 21

11   U.S.C. § 862a. Further, the Court may deny the Defendant's eligibility to any grant, contract,

12   loan, professional license, or commercial license provided by an agency of the United States or

13   by appropriated funds of the United States. 21 U.S.C. § 862.

14                                   Voluntariness & Waiver of Trial Rights


15          3. Defendant affirms that he has read this plea agreement and fully understands it.

16   Defendant acknowledges that he enters this plea agreement and his decision to plead guilty

17   voluntarily, and not because of any force, threats, promises or inducements, apart from the

18   promises and inducements set forth in this plea agreement. He agrees to plead guilty because he

19   is in fact guilty of the charged offense.

20          4. Defendant acknowledges that he understands that by entering a plea of guilty, he is

21   waiving - that is, giving up - the following rights guaranteed to him by law and by the

22   Constitution of the United States:


23                  (a) the right to plead not guilty and to persist in a plea of not guilty;

24                  (b) the right to a jury trial;

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 1                    (c) the right to be represented by an attorney and, if necessary, to have the Court

 2   appoint counsel at trial and all stages of the proceedings;

 3                    (d) the right at trial to confront and cross-examine witnesses against him;

 4                    (e) the right to remain silent at trial, with such silence not being used against him

 5   in any way;

 6                    (f) the right, should he choose, to testify on his own behalf and to present

 7   evidence;

 8                    (g) the right to compel witnesses to appear at such a trial and to have them testify

 9   on his behalf;

10                    (h) the right not to be prosecuted except by an indictment returned by a grand

11   jury.

12           Defendant understands that any statement he gives under oath in connection with this

13   guilty plea may be used against him by the United States in a prosecution for perjury or false

14   statement.


15                                Elements of the Offense & Factual Basis


16           5. Defendant understands and agrees that to establish the offense of Conspiracy to

17   Import Fifty or More Grams of Methamphetamine Hydrochloride, in violation of 21 U.S.C. §§

18   952(a), 960(a), 960(b)(1)(H), and 963, and 18 U.S.C. §2, the United States must prove each of

19   the following elements beyond a reasonable doubt:

20                    First: from on or about January 1, 2017 and continuing to on or about June 24,
                      2017, there was an agreement between two or more persons to commit the crime
21                    of importation of fifty (50) grams and more of methamphetamine hydrochloride
                      (ice); and
22
                      Second: the defendant became a member of the conspiracy knowing of at least
23                    one of its objects and helping to help accomplish it.

24           6. The United States and Defendant stipulate and agree to the following facts:

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 1          (a) Defendant was born in 1970 and is a citizen of the United States.

 2          (b) Since on or about January, 2017, Defendant JOEL PO YMBALLA (YMBALLA) had

 3   an agreement with others, including Fritz Ganzon, Mike Usalla and Danny Corpuz, Jr. and

 4   Danvic Samson, to import methamphetamine hydrochloride (ice) to Guam from the Philippines

 5   for distribution on Guam. Fritz Ganzon recruited YMBALLA to travel to the Philippines to

 6   import a kilogram of methamphetamine hydrochloride to Guam. YMBALLA'S travel expenses

 7   were to be paid by Ganzon. The methamphetamine was to be delivered to Ganzon and

 8   YMBALLA by Philippine supplier Danny Corpuz, Jr. aka Danvic Samson.

 9          (c) On or about May 1, 2017, Ganzon informed YMBALLA that he planned to smuggle

10   a kilogram of methamphetamine into Guam. Ganzon and YMBALLA agreed that YMBALLA

11   would travel to the Philippines with Ganzon in order to "shadow" or watch out for him.

12   YMBALLA and Ganzon agreed that after the drug was successfully smuggled into Guam, they

13   would give the methamphetamine to Efren Bataclan, a drug distributor for Michael Usalla.

14   Ganzon gave methamphetamine to YMBALLA to smoke.

15          (d) On May 18, 2017, Ganzon gave YMBALLA $400 to purchase round trip airline

16   tickets at the Philippine Airlines office, Micronesia Mall, Guam. YMBALLA and Ganzon

17   purchased roundtrip airline tickets departing Guam for the Philippines on June 9, 2017 and

18   returning to Guam on June 24,2017.

19          (e) On June 9, 2017, YMBALLA met Ganzon met at the Guam International Airport.

20   Ganzon gave YMBALLA $9,000 in U.S. currency, instructing him to carry the money to the

21   Philippines and to give the money to him when they landed. YMBALLA and Ganzon departed

22   Guam on Philippines Airlines flight No. 111.     YMBALLA gave Ganzon the money upon their

23   arrival in the Philippines. While in the Philippines, Ganzon paid for the hotel costs, lodging and

24   other travel expenses for YMBALLA and himself. Ganzon also paid for methamphetamine
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 1   which he and YMBALLA smoked.

 2           (f) YMBALLA and Ganzon met with Philippine drug supplier, Danvic Samson who

 3   provided them with a kilogram of methamphetamine hydrochloride. The methamphetamine was

 4   individually wrapped in 23 clear cellophane plastic bundles and concealed in nine Philippine

 5   snack boxes. Ganzon and Danvic Samson placed the snack boxes containing the

 6   methamphetamine into YMBALLA'S suitcase.

 7           (g) On June 24, 2017, YMBALLA and Ganzon traveled from the Philippines to Guam

 8   U.S.A. on Philippines Airlines Flight No. 110.     A drug detection dog alerted to the presence of

 9   drugs in YMBALLA'S suitcase.        YMBALLA admitted "... it wasn't supposed to happen like

10   this." YMBALLA sent money approximately seven times to Danny Corpuz, Jr., and Danvic

11   Samson using Western Union locations located at the A & A Pawnshops in Harmon and Dededo,

12   Guam.


13           (h) The methamphetamine was submitted to the Drug Enforcement Administration

14   Southwest Laboratory for analysis and resulted in a weight of 969.5 grams of d-

15   methamphetamine hydrochloride with a 98% purity, "Ice," for purposes of the Sentencing

16   Guidelines, means a mixture or substance containing d-methamphetamine hydrochloride of at

17   least 80% purity.

18           (i) The parties agree that this stipulated statement of facts is sufficient to support

19   Defendant's guilty plea. It is made for that limited purpose and does not contain all facts relating

20   to the underlying criminal conduct.

21                                 Sentencing Guidelines & Procedures

22           7. Defendant understands and acknowledges that:

23                  (a) The Sentencing Guidelines apply in this case. In determining a sentence,

24   the Court is obligated to calculate the applicable sentencing guideline range and to consider that

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 1   range, possible departures or variances under the Sentencing Guidelines, and other sentencing

 2   factors under 18 U.S.C. § 3553(a);

 3                  (b) The United States will make its full discovery file available to the Probation

 4   Office for its use in preparing the presentence report;

 5                  (c) The Court will rely on the facts established in this case - including, but not

 6   limited to, the facts Defendant stipulates to in this plea agreement - in determining the applicable

 7   offense level and resulting guideline range;

 8                  (d) Sentencing discussions between Defendant and defense counsel or between

 9   defense counsel and the U.S. Attorney's Office are not part of this plea agreement, and

10   Defendant is not relying on the possibility of any particular guideline range or sentence based on

11   any such discussions;

12                  (e) No promises or guarantees have been made to Defendant regarding either the

13   guideline range or the sentence that will be imposed. The Court is not required to follow the

14   Sentencing Guidelines or to accept any sentencing recommendations made by the United States

15   or Defendant, and the Court may impose any sentence up to and including the maximum

16   penalties set out above. Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal

17   Procedure, if the Court does not accept a sentencing recommendation made by the United States,

18   Defendant nevertheless has no right to withdraw his guilty plea.

19                                               Cooperation


20          8. Defendant agrees to make a full, complete and truthful statement regarding his

21   involvement in criminal conduct, as well as the involvement of all others known to him.

22   Defendant agrees to testify fully and truthfully at any trials or hearings. Defendant understands

23   that this plea agreement is not conditioned on the outcome of any trial. Defendant further

24   understands, however, that this plea agreement is contingent on complete and truthful testimony

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 1   by Defendant in response to questions asked by the Court, the prosecutor, or lawyers for any

 2   party.

 3            9. If Defendant provides self-incriminating information as part of his cooperation

 4   regarding the unlawful activities of others, the United States agrees not to use such information

 5   against Defendant at his sentencing. Such information may be revealed to the Court but shall not

 6   be used against Defendant in determining Defendant's sentence range. There shall be no such

 7   restrictions on the use of information: (a) previously known to law enforcement agencies; (b)

 8   revealed to law enforcement agencies by, or discoverable through, an independent source; (c) in

 9   a prosecution for perjury or giving a false statement; or (d) in the event there is a material breach

10   of this agreement by Defendant.

11            10. Defendant understands and agrees that his sentencing date may be continued by the

12   Court until after the indictment and trial of others, so as to enable the United States and the Court

13   to assess Defendant's cooperation.

14                                    Agreements of the United States

15            11. The United States agrees to recommend that the Court, in determining Defendant's

16   sentencing guideline range, apply the maximum available reduction for acceptance of

17   responsibility. This recommendation, however, is based on facts currently known to the United

18   States and is contingent on Defendant accepting responsibility according to the factors set forth

19   in § 3E1.1 of the Sentencing Guidelines. The United States is free to withdraw this

20   recommendation if Defendant has previously engaged in any conduct which is unknown to the

21   United States and is inconsistent with acceptance of responsibility, or if he engages in any

22   conduct between the date of this plea agreement and the sentencing hearing which is inconsistent

23   with acceptance of responsibility.

24            12. The United States agrees to recommend at sentencing that the Court impose a

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 1   sentence within the applicable guideline range. If, however, the United States determines that

 2   Defendant has provided substantial assistance in the investigation or prosecution of another

 3   person, the United States agrees to move the Court at sentencing, pursuant to § 5K1.1 of the

 4   Sentencing Guidelines, to impose a sentence below the otherwise applicable sentencing guideline

 5   range. The determination of whether defendant has provided such substantial assistance rests

 6   entirely within the discretion of the United States Attorney's Office. Defendant acknowledges

 7   that even if the United States makes such a motion, the Court is not required to reduce

 8   Defendant's sentence.


 9                                   Financial Disclosure Obligations


10           13. Defendant agrees to submit to the U.S. Attorney's Office, within three weeks of the

11   execution of this plea agreement, a complete, accurate and truthful financial statement and

12   accompanying releases, in a form it provides and as it directs. Defendant agrees to disclose all

13   assets in which he has any interest or over which he exercises control, directly or indirectly,

14   including those held by a spouse, nominee or other third party. Defendant authorizes the U.S.

15   Attorney's Office to obtain a credit report on him to evaluate his ability to satisfy any financial

16   obligation imposed by the Court.

17           14. Defendant understands and agrees that any monetary penalties imposed by the Court

18   will be due and payable immediately and subject to immediate enforcement by the United States,

19   pursuant to 18 U.S.C. § 3613. Defendant understands that, by law, interest accrues on any

20   remaining balance of the debt. Defendant agrees not to dissipate assets. If Defendant is

21   financially unable to immediately pay any monetary penalties in full, Defendant agrees: (a) to

22   cooperate with the United States Attorney's Office; (b) to provide updated financial statements

23   upon request by the United States Attorney's Office and to keep the office advised about

24   Defendant's current address; and (c) for his debt to be placed on the Treasury Offset Program

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 1   and any tax refund/rebate offset program existing in his state of residency. Defendant

 2   understands that any funds captured by an offset program will be paid towards his monetary

 3   penalties, but does not relieve her of his obligation to pay the monetary penalties in full.

 4                                        Consequences of Breach

 5           15. Defendant agrees that if he is deemed by the Court to be in material breach of any of

 6   his obligations under this agreement: (a) Defendant shall not be entitled to withdraw his plea of

 7   guilty made in connection with this agreement; (b) the United States may, in its discretion and at

 8   its option, declare null and void any of its obligations under this agreement; and (c) the United

 9   States may recommend whatever sentence it may deem appropriate. The issue of whether

10   Defendant is in material breach of this agreement shall be determined by the Court in a

11   proceeding at which the United States shall be required to establish breach by a preponderance of

12   the evidence. Defendant understands and agrees that the Federal Rules of Evidence shall not

13   apply at any such hearing, and that the United States may rely at the hearing on any statements or

14   evidence Defendant may have given during cooperation with law enforcement.

15                                   Waiver of Post-Sentencing Rights


16          16. Defendant voluntarily, knowingly and intelligently waives any right to appeal or to

17   collaterally attack any aspect of his conviction including, but not limited to, any pretrial

18   dispositions of motions and other issues. Defendant acknowledges and agrees that this waiver

19   shall result in the dismissal of any appeal or collateral attack Defendant might file challenging

20   his conviction or sentence in this case, other than an attack based on alleged ineffective

21   assistance of counsel, alleged involuntariness of the Defendant's guilty plea, or alleged

22   prosecutorial misconduct.

23              Consequences of Withdrawal of Guilty Plea or Vacating of Conviction

24          17. Defendant agrees that if he is allowed to withdraw his guilty plea or if any conviction

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 1   entered pursuant to this agreement is vacated or rendered invalid for any reason, the Court shall,

 2   at the request of the United States, reinstate any charges that were dismissed as part of this

 3   agreement. Defendant also agrees that within six months after the date the order vacating or

 4   invalidating Defendant's conviction or allowing him to withdraw his guilty plea becomes final,

 5   the United States may file additional charges against Defendant relating directly or indirectly to

 6   the conduct underlying the guilty plea. Defendant waives his right to challenge any such

 7   additional charges on the ground that they were not filed in a timely manner, including any claim

 8   that they were filed after the limitations period expired.

 9                                        Completeness and Effect


10           18. Nothing in this plea agreement shall bind any federal, state or local districts,

11   jurisdiction or law enforcement agency, other than the United States Attorney for the Districts of

12   Guam and the Northern Mariana Islands.


13           19. Defendant acknowledges that this is the only plea agreement in this case. This plea

14   agreement cannot be modified other than by a writing signed by all parties, or by a modification

15   acknowledged by all parties on the record in Court.

16
     DATED: £jto&j6./<l
17


18
     DATED: ?sjggg gW?
19


20

                                                      SHAWN N. ANDERSON
21
                                                      United States Attorney
                                                      Districts of Guam and the Northern Mariana Islands
22


23   DATED:   . um                              By:
                                                      LAURA C. SAMMTAR
                                                      Assistant U.S. Attorney
24

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